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 2   SAMUEL WONG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2772
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 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
                                 )
11   UNITED STATES OF AMERICA,   )      NO. 2:11-CR-076 LKK
                                 )
12                  Plaintiff,   )      STIPULATION AND ORDER VACATING
                                 )      SENTENCING HEARING, SETTING
13        v.                     )      BRIEFING SCHEDULE, AND HEARING
                                 )      DATE ON DEFENDANT’S MOTION FOR A
14   CRESENCIO DELGADO-EZQUIVEL, )      SENTENCING JURY
     et al.,                     )
15                               )      Court:   Hon. Lawrence K. Karlton
                    Defendants. )
16                               )
     ___________________________ )
17
18
19        Whereas, defendant Crescencio Delgado-Ezquivel’s
20   (“defendant”) sentencing date is currently set for September 24,
21   2013, at 9:15 a.m.;
22        Whereas, defendant’s motion filed on September 18, 2013, for
23   a sentencing jury appears to raise issues of a first impression;
24        Whereas, the undersigned prosecutor will be very busy
25   preparing for, and conducting, the trial in United States v.
26   Clemente Arroyo, No. 2:09-CR-273 JAM, that starts on September
27   30, 2013, and is expected to last for approximately one week; and
28        Whereas, plaintiff United States of America desires

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 1   additional time to respond to defendant’s motion as the
 2   undersigned prosecutor will seek to obtain guidance from the
 3   Department of Justice in Washington, D.C., before completing the
 4   United States’ response to defendant’s motion for a sentencing
 5   jury,
 6           It is hereby stipulated and agreed to by and between the
 7   parties, through their respective attorneys, that:
 8           1.     The September 24, 2013, sentencing hearing shall be
 9   vacated pending the resolution of defendant’s motion for a
10   sentencing jury.
11           2.     The United States’ response to defendant’s motion for a
12   sentencing jury shall be due on October 22, 2013.
13           3.     Defendant’s reply, if any, in support of his motion
14   shall be due on October 29, 2013.
15           4.     The hearing on defendant’s motion for a sentencing jury
16   shall be held on November 5, 2013, at 9:15 a.m.
17   Dated:       September 20, 2013
18                                               Respectfully submitted,
19                                               HEATHER WILLIAMS
                                                 Federal Defender
20
                                                /s/ Douglas Beevers
21                                              ______________________________
                                          By:   DOUGLAS BEEVERS
22                                              Assistant Federal Defender
                                                Attorney for Defendant
23                                              CRESCENCIO DELGADO-EZQUIVEL
24   Dated:       September 20, 2013
                                                 BENJAMIN B. WAGNER
25                                               United States Attorney
26                                              /s/ Samuel Wong
27                                              ___________________________
                                          By:    SAMUEL WONG
28                                               Assistant U.S. Attorney

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 1                                        ORDER
 2        The Court having received, read, and considered the parties’
 3   stipulation, and good cause appearing therefrom, adopts the
 4   parties’ stipulation in its entirety as the Court’s order.
 5        It is so ordered.
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 7   Dated:     September 24, 2013
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